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UNITED STATES DISTRICT COURT
WESTERN DISTRICT 0F TENNESSEE »_;_»~> ;q r:!;-.\»; ge i
Western Division w ' " 7

UNITED STATES OF AMERICA

 

-vs- Case No. 2 :04cr20208-B

COURTNEY MORROW

 

ORDER OF DETENT|ON PEND|NG TR|AL
FlND|NGS
ln accordance With the Bail Reform Act, l 8 U.S.C. § 3142(£), a detention hearing has been
held. The following facts and circumstances require the defendant to be detained pending trial.

The defendant makes no application for release at this time. A motion for conditions
of release and a detention hearing may be filed at a later date.

D|RECT|ONS REGARD|NG DETENT|ON

COURTNEY MORROW is committed to the custody of the Attomey General or his designated
representative for confinement in a corrections facility separate, to the extent practicable, from persons awaiting or
serving sentences or being held in custody pending appeal COURTNEY MORROW shall be afforded a reasonable
opportunity for private consultation with defense counsel On order of a Court of the United States or on request of an
attorney for the government, the person in charge of the corrections facility shall deliver the Defendant to the United
States marshal for the purpose of an appearance in connection with a Court proceeding

Date: April 15, 2005

 

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'TU M. PHAM
UNrrED srATEs MAGISTRATE JUDGE

Thls document entered on the docket heat in com |i§’nce
with Rula 55 and/or 32(b) FRCrF’ eng ' :2 m w 15 .

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This notice confirms a copy of the document docketed as number 40 in
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Honorable J. Breen
US DISTRICT COURT

